Case 1:18-mc-00037-LMB-JFA Document 9 Filed 11/27/18 Page 1 of 1 PageID# 55




                          CIVIL MOTION MINUTES


Date: 11/27/18                                         Judge: Brinkema
                                                       Reporter: A. Thomson
Time: 10:28am – 10:51am


Civil Action Number: 18mc37

In Re: Application of Reporters Committee for Freedom of the Press to Unseal Criminal
Prosecution of Julian Assange

Movant: Reporters Committee for Freedom of the Press
vs.
Interested Party: United States Attorney for The Eastern District of Virginia
                  Julian Assange

Appearances of Counsel for:
Movant: Caitlin Vogus & KatieLynn Townsend
Interested Party U.S. Attorney: Gordon Kromberg & Tracy McCormick


Motion to/for:
#1 Motion to Unseal Document -




Argued &
( ) Granted (    ) Denied (       ) Granted in part/Denied in part
(X)Taken Under Advisement (       ) Continued to




( ) Memorandum Opinion to Follow
( ) Order to follow
